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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

PAIGE MINOR,

  Plaintiff,
                                               CASE NO.: 7:18-CV-00098-WLS
-vs-

FINANCIAL MANAGEMENT SYSTEMS
a/k/a FMS Investment Corporation,

 Defendant.
                                       /

       JOINT STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES now plaintiff, Paige Minor (plaintiff), and defendant, Financial

Management Systems a/k/a FMS Investment Corporation, by and through their undersigned

counsel, in the above-titled action and represent to the Court that this matter, regarding

plaintiff’s claims against Defendant, have been settled amicably, and request entry of a

Final Order of Dismissal with Prejudice in this matter as to Defendant, with each party to

bear its own costs and attorneys’ fees except as provided in the parties’ Agreement of

Settlement and Release.

       Dated: October 12, 2018

/s/ Octavio Gomez     ________             /s/ Kirsten H. Smith
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